      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 1 of 16 PageID 1




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION


CALLYSSA BAKER,

      Plaintiff,
                                             CASE NO.:
v.

DIGITAL MEDIA SOLUTIONS, LLC,

    Defendant.
_________________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, CALLYSSA BAKER, by and through undersigned counsel, brings

this action against Defendant, DIGITAL MEDIA SOLUTIONS, LLC, and in

support of her claims states as follows:

                        JURISDICTION AND VENUE

      1.     This is an action for damages for violations of Title VII of the Civil

Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. § 2000e et seq., the

Pregnant Workers Fairness Act, as amended (“PWFA”), 42 U.S.C. § 2000gg et

seq., and the Florida Civil Rights Act of 1992, as amended (“FCRA”), Fla. Stat. §

760.01 et seq.

      2.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331, 42

U.S.C. § 2000e et seq., and 42 U.S.C. § 2000gg et seq.

      3.     Venue is proper in the Middle District of Florida, because all of the

events giving rise to these claims occurred in Pinellas County, Florida.
         Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 2 of 16 PageID 2




                                         PARTIES

         4.     Plaintiff is a resident of Pinellas County, Florida.

         5.     Defendant operates a company in Clearwater, in Pinellas County,

Florida.

                              GENERAL ALLEGATIONS

         6.     At all times material hereto, Plaintiff was an employee of Defendant

within the meaning of Title VII, the PWFA, and the FCRA.

         7.     At all times material hereto, Defendant employed fifteen (15) or

more employees. Thus, Defendant is an “employer” within the meaning of Title

VII, the PWFA, and the FCRA.

         8.     Plaintiff has satisfied all conditions precedent, or they have been

waived.

         9.     Plaintiff has hired the undersigned attorneys and agreed to pay them

a fee.

         10.    Plaintiff requests a jury trial for all issues so triable.

                                           FACTS

                        Plaintiff is in a Protected Class
               Due to Her Sex (female) and Due to Her Pregnancy

         11.    Plaintiff is a member of a protected class based on her sex (female).

         12.    Plaintiff is a member of a protected class based on her pregnancy, as

she was an expectant mother who was entitled to special protections under the

PWFA.
                                           2
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 3 of 16 PageID 3




      13.    On account of Plaintiff’s protected status, Plaintiff benefits from the

protections of Title VII, the PWFA, and the FCRA.

Plaintiff was Qualified for Her Employment Position with Defendant

      14.    Plaintiff was employed by Defendant from in or around April 2023

until on or around July 19, 2023, as a call center agent.

      15.    During her tenure with Defendant, Plaintiff performed the job duties

for which she was hired in a satisfactory manner.

              Plaintiff Suffered Adverse Employment Action

      16.    Plaintiff was subjected to disparate treatment on the basis of her sex

(due to her pregnancy).

      17.    Plaintiff was subjected to disparate treatment on the basis of her

pregnancy and her request for a reasonable accommodation due to her

pregnancy.

      18.    On or around May 22, 2023, Plaintiff informed Defendant of her

pregnancy, and requested the reasonable accommodation of a maternity leave,

which she discussed with her Supervisor.

      19.    At this time, Plaintiff was consistently one of Defendant’s top

performing employees.

      20.    However, after Plaintiff informed Defendant of her pregnancy and

discussed maternity leave with her Supervisor, the number of leads that Plaintiff

was given by Defendant began to significantly decline.

      21.    Plaintiff asked her former trainer about this decrease in leads.

                                      3
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 4 of 16 PageID 4




      22.   Plaintiff’s former trainer expressed surprise about this and informed

Plaintiff that Plaintiff had been the top performing employee in her training class.

      23.   Plaintiff   then   objected   to   Defendant’s   sex   and     pregnancy

discrimination by complaining to Defendant’s Human Resources Department

(“HR”) about the decrease in leads that she was being given by Defendant.

      24.   However, HR failed to take remedial action.

      25.   Shortly thereafter, Defendant began retaliating against Plaintiff for

having engaged in protected activity, by sending Plaintiff home early at least once

per week.

      26.   Plaintiff continually objected to this retaliation by notifying HR

when she was sent home early.

      27.   Plaintiff’s Supervisor informed Plaintiff that she was being sent

home early due to low production and accused Plaintiff of having the lowest

production out of all other employees.

      28.   However, Plaintiff discovered that this was, in fact, false.

      29.   Despite the fact that other employees had lower production than

Plaintiff, Defendant discriminated against Plaintiff based on her sex (due to

pregnancy) and pregnancy by consistently sending Plaintiff home, rather than

other (non-pregnant) employees who had lower production than Plaintiff.

      30.   Accordingly, Plaintiff objected to this sex (due to pregnancy) and

pregnancy discrimination by complaining to her Supervisor about the

discrimination.

                                      4
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 5 of 16 PageID 5




         31.   However, Defendant failed to take remedial action.

         32.   Plaintiff’s Supervisor simply instructed Plaintiff to “mind her own

business” and “not to worry about other agents.”

         33.   With Defendant, once again, failing to take remedial action, Plaintiff

again reached out to her former trainer, who advised Plaintiff to contact HR

again.

         34.   In or around June 2023, Plaintiff contacted HR and complained

about being discriminated against (due to her sex and pregnancy) and retaliated

against by Defendant, because she previously engaged in protected activity by

complaining about sex and pregnancy discrimination.

         35.   However, again, Defendant failed to take remedial action and merely

dismissed Plaintiff’s claims.

         36.   Plaintiff continued to contact HR regarding the sex (due to

pregnancy) and pregnancy discrimination, and retaliation.

         37.   In or around June 2023, while Plaintiff was making numerous

complaints to HR regarding the sex (due to pregnancy) and pregnancy

discrimination, and retaliation against her, Defendant’s retaliation against

Plaintiff only increased.

         38.   Specifically, in or around June 2023, Defendant began sending

Plaintiff home early at least twice per week.

         39.   In fact, on occasion, Defendant would send Plaintiff home early after

less than merely two hours of working.

                                       5
        Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 6 of 16 PageID 6




        40.   On or around July 14, 2023, Plaintiff’s Supervisor, Sarah, informed

Plaintiff that Plaintiff had received numerous write-ups, despite Plaintiff never

having been informed that she received any write-ups.

        41.   At this time, Plaintiff objected to these write-ups and refused to sign

them.

        42.   However, Sarah reassured Plaintiff that Plaintiff’s job was not in

jeopardy.

        43.   On or around July 18, 2023, Sarah again requested that Plaintiff sign

the write-ups, so Plaintiff did as she was instructed.

        44.   The very next day, on or around June 19, 2023, Defendant

terminated Plaintiff, based on her sex (due to pregnancy) and pregnancy

(including the fact that Plaintiff required and requested a reasonable

accommodation of a maternity leave), and in retaliation for engaging in protected

activity, in violation of Title VII, the PWFA, and the FCRA.

                      COUNT I – TITLE VII VIOLATION
                         (SEX DISCRIMINATION)

        45.   Plaintiff realleges and readopts the allegations of paragraphs 6

through 11, 13 through 16, 18 through 24, and 27 through 44 of this Complaint, as

though fully set forth herein.

        46.   Plaintiff is a member of a protected class under Title VII, based on

her sex, due to her pregnancy.




                                       6
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 7 of 16 PageID 7




      47.    Plaintiff was subjected to disparate treatment on the basis of her sex,

including Defendant refusing to provide Plaintiff with leads, reducing Plaintiff’s

hours, and terminating Plaintiff’s employment.

      48.    Defendant knew or should have known of the disparate treatment

suffered by Plaintiff, and failed to intervene or to take prompt and effective

remedial action in response.

      49.    Defendant’s actions were willful and done with malice.

      50.    Plaintiff was injured due to Defendant’s violations of Title VII, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     A jury trial on all issues so triable;

             b)     That process issue and that this Court take jurisdiction over

                    the case;

             c)     An injunction restraining continued violation of Title VII by

                    Defendant;

             d)     Compensation       for   lost    wages,   benefits,    and      other

                    remuneration;

             e)     Reinstatement of Plaintiff to a position comparable to

                    Plaintiff’s prior position, or in the alternative, front pay;

             f)     Any other compensatory damages, including emotional

                    distress, allowable at law;

             g)     Punitive damages;

                                        7
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 8 of 16 PageID 8




             h)     Prejudgment interest on all monetary recovery obtained.

             i)     All costs and attorney’s fees incurred in prosecuting these

                    claims; and

             j)     For such further relief as this Court deems just and equitable.

                    COUNT II – TITLE VII RETALIATION

      51.    Plaintiff realleges and readopts the allegations of paragraphs 6

through 11, 13 through 16, and 18 through 44 of this Complaint, as though fully

set forth herein.

      52.    Plaintiff is a member of a protected class under Title VII.

      53.    Plaintiff exercised or attempted to exercise her rights under Title VII,

thereby engaging in protected activity under Title VII.

      54.    Defendant retaliated against Plaintiff for engaging in protected

activity under Title VII by reducing Plaintiff’s hours and terminating Plaintiff’s

employment.

      55.    Defendant’s actions were willful and done with malice.

      56.    In, Defendant took material adverse action against Plaintiff.

      57.    Plaintiff was injured due to Defendant’s violations of Title VII, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     A jury trial on all issues so triable;

             b)     That process issue and that this Court take jurisdiction over

                    the case;

                                        8
      Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 9 of 16 PageID 9




             c)    That this Court enter a declaratory judgment, stating that

                   Defendant retaliated against Plaintiff for exercising her rights

                   under Title VII;

             d)    That this Court enter an injunction restraining continued

                   violation of Title VII by Defendant;

             e)    Compensation         for   lost   wages,   benefits,   and   other

                   remuneration;

             f)    Reinstatement of Plaintiff to a position comparable to

                   Plaintiff’s prior position, with back pay plus interest, pension

                   rights, seniority rights, and all fringe benefits;

             g)    Front pay;

             h)    Any other compensatory damages, including emotional

                   distress, allowable at law;

             i)    Punitive damages;

             j)    Prejudgment interest on all monetary recovery obtained.

             k)    All costs and attorney’s fees incurred in prosecuting these

                   claims; and

             l)    For such further relief as this Court deems just and equitable.

                   COUNT III – PWFA DISCRIMINATION

      58.    Plaintiff realleges and readopts the allegations set forth in

Paragraphs 6 through 10, 12 through 15, 17 through 24, and 27 through 44 of this

Complaint, as fully set forth herein.

                                        9
     Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 10 of 16 PageID 10




      59.    Plaintiff informed Defendant of her pregnancy, inquiring about time

off from work to care for herself in preparation for, during, and after the birth of

a child.

      60.    Thus, Plaintiff was an expectant mother who was entitled to special

protections under the PWFA, and she required leave protected under the PWFA.

      61.    By requesting maternity leave that qualified as protected leave under

the PWFA, Plaintiff attempted to exercise her rights under the PWFA.

      62.    Moreover, Plaintiff objected to Defendant discriminating against

Plaintiff by refusing to give Plaintiff leads and reducing Plaintiff’s hours.

      63.    By terminating Plaintiff’s employment, Defendant interfered with

Plaintiff’s rights under the PWFA.

      64.    Defendant’s actions were willful and done with malice.

      65.    Plaintiff was injured by Defendant’s violations of the PWFA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     That this Court enter a judgment, stating that Defendant

                    retaliated against Plaintiff in violation of the PWFA;

             b)     An injunction restraining continued violation of the PWFA by

                    Defendant;

             c)     Compensation       for   lost   wages,    benefits,   and   other

                    remuneration;

             d)     Front pay;

                                       10
     Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 11 of 16 PageID 11




             e)     Liquidated damages;

             f)     Prejudgment interest on all monetary recovery obtained;

             g)     All costs and attorneys’ fees incurred in prosecuting these

                    claims; and

             h)     For such further relief as this Court deems just and equitable.

                      COUNT IV – PWFA RETALIATION

      66.    Plaintiff realleges and readopts the allegations set forth in

Paragraphs 6 through 10, 12 through 15, and 17 through 44 of this Complaint, as

fully set forth herein.

      67.    Plaintiff inquired about time off from work to care for herself in

preparation for, during, and after the birth of a child.

      68.    Thus, Plaintiff was an expectant mother who was entitled to special

protections under the PWFA, and she required leave protected under the PWFA.

      69.    By inquiring about maternity leave that qualified as protected leave

under the PWFA and objecting to Defendant’s disparate treatment of Plaintiff

based on her pregnancy, Plaintiff attempted to exercise her rights under the

PWFA.

      70.    By terminating Plaintiff’s employment, Defendant retaliated against

Plaintiff for attempting to exercise her rights under the PWFA.

      71.    Terminating Plaintiff’s employment constitutes as an “adverse

action” under the PWFA. 42 U.S.C. § 2000gg–1(5).

      72.    Defendant’s actions were willful and done with malice.

                                      11
     Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 12 of 16 PageID 12




      73.    Plaintiff was injured by Defendant’s violations of the PWFA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     That this Court enter a judgment, stating that Defendant

                    retaliated against Plaintiff in violation of the PWFA;

             b)     An injunction restraining continued violation of the PWFA by

                    Defendant;

             c)     Compensation       for   lost   wages,    benefits,   and   other

                    remuneration;

             d)     Front pay;

             e)     Liquidated damages;

             f)     Prejudgment interest on all monetary recovery obtained;

             g)     All costs and attorneys’ fees incurred in prosecuting these

                    claims; and

             h)     For such further relief as this Court deems just and equitable.

                         COUNT V – FCRA VIOLATION
                           (SEX DISCRIMINATION)

      74.    Plaintiff realleges and readopts the allegations of paragraphs 6

through 11, 13 through 16, 18 through 24, and 27 through 44 of this Complaint, as

though fully set forth herein.

      75.    Plaintiff is a member of a protected class under the FCRA, based on

her sex, due to her pregnancy.


                                       12
     Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 13 of 16 PageID 13




      76.    Plaintiff was subjected to disparate treatment on the basis of her sex,

including Defendant refusing to provide Plaintiff with leads, reducing Plaintiff’s

hours, and terminating Plaintiff’s employment.

      77.    Defendant knew or should have known of the disparate treatment

suffered by Plaintiff, and failed to intervene or to take prompt and effective

remedial action in response.

      78.    Defendant’s actions were willful and done with malice.

      79.    Plaintiff was injured due to Defendant’s violations of the FCRA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     A jury trial on all issues so triable;

             b)     That process issue and that this Court take jurisdiction over

                    the case;

             c)     Compensation       for   lost    wages,   benefits,   and   other

                    remuneration;

             d)     Front pay;

             e)     Any other compensatory damages, including emotional

                    distress, allowable at law;

             f)     Punitive damages;

             g)     Prejudgment interest on all monetary recovery obtained.

             h)     All costs and attorney’s fees incurred in prosecuting these

                    claims; and

                                       13
     Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 14 of 16 PageID 14




             i)     For such further relief as this Court deems just and equitable.



                       COUNV VI – FCRA RETALIATION

      80.    Plaintiff realleges and readopts the allegations of paragraphs 6

through 10, 12 through 15, and 17 through 44 of this Complaint, as though fully

set forth herein.

      81.    Plaintiff is a member of a protected class under the FCRA, as a

female.

      82.    Plaintiff exercised or attempted to exercise her rights under the

FCRA, thereby engaging in protected activity under the FCRA.

      83.    Defendant retaliated against Plaintiff for engaging in protected

activity under the FCRA, by reducing Plaintiff’s hours and terminating Plaintiff’s

employment.

      84.    Defendant’s actions were willful and done with malice.

      85.    In, Defendant took material adverse action against Plaintiff.

      86.    Plaintiff was injured due to Defendant’s violations of the FCRA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

              a)    A jury trial on all issues so triable;

              b)    That process issue and that this Court take jurisdiction over the

                    case;



                                        14
Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 15 of 16 PageID 15




       c)     That this Court enter a declaratory judgment, stating that

              Defendant interfered with Plaintiff’s rights under the FCRA;

       d)     Compensation       for   lost   wages,     benefits,   and   other

              remuneration;

       e)     Reinstatement of Plaintiff to a position comparable to her

              prior position, with back pay plus interest, pension rights, and

              all benefits;

       f)     Front pay;

       g)     Any other compensatory damages, including emotional

              distress, allowable at law;

       h)     Punitive damages;

       i)     Prejudgment interest on all monetary recovery obtained.

       j)     All costs and attorney’s fees incurred in prosecuting these

              claims; and

       k)     For such further relief as this Court deems just and equitable.

                       JURY TRIAL DEMAND

 Plaintiff demands trial by jury as to all issues so triable.

 Dated this 9th day of July, 2024.

                                   Respectfully submitted,

                                   /s/Brandon J. Hill
                                   BRANDON J. HILL
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                                  15
Case 8:24-cv-01632 Document 1 Filed 07/09/24 Page 16 of 16 PageID 16




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                              16
